Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 1 of 26




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Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 2 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 3 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 4 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 5 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 6 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 7 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 8 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 9 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 10 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 11 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 12 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 13 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 14 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 15 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 16 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 17 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 18 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 19 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 20 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 21 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 22 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 23 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 24 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 25 of 26
Case 19-03014   Doc 1-2   Filed 08/29/19   Entered 08/29/19 11:24:07   Page 26 of 26
